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                      Exhibit 4
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From: Glor More <moreglor52@gmail.com>
Date: March 5, 2025 at 2:59:17 PM MST
To: james@arroyo-terminals.com, James Jensen <james@maximcrude.com>
Subject: Updated 4thQTR Profil Loss


Hello James,
Attached is Updated 4thQTR Profit/Loss to reflect total deposits into Revenue/Sales,
please let me know of more changes, thank you.

--
Respectfully,
Gloria Moreno



Circular 230 Disclosure: To ensure compliance with requirements imposed by the IRS, we inform you that any U.S.
Federal Tax Advice contained in this communication (including any attachments) is not intended or written to be used,
and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting,
marketing or recommending to another party any transaction or matter addressed herein.




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From: Glor More <moreglor52@gmail.com>
Date: March 10, 2025 at 2:20:51 PM MDT
To: Office Arroyo <office@arroyo-terminals.com>, james@arroyo-terminals.com, James Jensen
<james@maximcrude.com>
Subject: Bank Statements 2025


Hello Katja,
Hope all is well, spoke with James earlier today, and as per James- please email me a.s.a.p. the 2025 January and
February bank statements for Arroyo Terminals LLC. We are trying to finish up the YE financials for the bank by
tomorrow. If you have any questions or concerns please let James know or call me. Thank you

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Respectfully,
Gloria Moreno



Circular 230 Disclosure: To ensure compliance with requirements imposed by the IRS, we inform you that any U.S.
Federal Tax Advice contained in this communication (including any attachments) is not intended or written to be used,
and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting,
marketing or recommending to another party any transaction or matter addressed herein.




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From: Glor More <moreglor52@gmail.com>
Date: March 11, 2025 at 8:29:06 PM MDT
To: james@arroyo-terminals.com, James Jensen <james@maximcrude.com>
Subject: 2024 Financial Stmnt for Review


Good evening James,
Attached are financial statements for Review, please revise and email back to me the
changes, thank you.


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Respectfully,
Gloria Moreno



Circular 230 Disclosure: To ensure compliance with requirements imposed by the IRS, we inform you that any U.S.
Federal Tax Advice contained in this communication (including any attachments) is not intended or written to be used,
and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting,
marketing or recommending to another party any transaction or matter addressed herein.




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From: Glor More <moreglor52@gmail.com>
Date: March 11, 2025 at 8:34:23 PM MDT
To: james@arroyo-terminals.com, James Jensen <james@maximcrude.com>
Subject: Re: 2024 Financial Stmnt for Review


Hello James,
Attached are QuickBooks Financial Statements, please revise and let me know if you have
any changes. thank you.

Respectfully,
Gloria Moreno

On Tue, Mar 11, 2025 at 9:28 PM Glor More <moreglor52@gmail.com> wrote:
 Good evening James,
 Attached are financial statements for Review, please revise and email back to me the
 changes, thank you.


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Respectfully,
Gloria Moreno



Circular 230 Disclosure: To ensure compliance with requirements imposed by the IRS, we inform you that any U.S.
Federal Tax Advice contained in this communication (including any attachments) is not intended or written to be used,
and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting,
marketing or recommending to another party any transaction or matter addressed herein.




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